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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 MEDICAL SUPPLY                             )    CASE NO. 2:21-cv-00161
 DISTRIBUTION, LLC,                         )
                                            )    JUDGE MICHAEL H. WATSON
                       Plaintiff,           )
         v.                                 )    MAGISTRATE JUDGE
                                            )    CHELSEY M. VASCURA
 CHEM & CONSULT, INC., et al.,              )
                                            )    JOINT MOTION TO MODIFY CASE
                       Defendants.          )    SCHEDULE


        Pursuant to Fed. Civ.R. 6(b)(1)(A) and 16(b)(4) and S.D. Ohio Civ. R. 16.2, Plaintiff

Medical Supply Distribution, LLC, Defendant Chem & Consult, Inc., and Defendant Mitch

Goodman (collectively, the “Parties”) respectfully jointly move for modification of the pretrial

case schedule as set forth in the Court’s January 5, 2022 Opinion and Order. (ECF No. 52). The

Parties seek this modification for good cause, as more fully explained in the attached Memorandum

in Support. This motion is not interposed for delay.

                                             Respectfully submitted,

/s/ Marc S. Blubaugh___________                   /s/ Daniel J. Matusicky (via email consent)
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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 MEDICAL SUPPLY                            )   CASE NO. 2:21-cv-00161
 DISTRIBUTION, LLC,                        )
                                           )   JUDGE MICHAEL H. WATSON
                      Plaintiff,           )
        v.                                 )   MAGISTRATE JUDGE
                                           )   CHELSEY M. VASCURA
 CHEM & CONSULT, INC., et al.,             )
                                           )   MEMORANDUM IN SUPPORT OF
                      Defendants.          )   JOINT MOTION TO MODIFY CASE
                                           )   SCHEDULE

       Plaintiff Medical Supply Distribution, LLC (“Medical Supply”), Defendant Chem &

Consult, Inc., and Defendant Mitch Goodman (collectively, the “Parties”) jointly move for

modification of the pretrial case schedule set forth in the Court’s January 5, 2022 Opinion and

Order. (ECF No. 52). Fed. R. Civ. P. 16(b)(4) provides: “A schedule may be modified only for

good cause and with the judge’s consent.” S.D. Ohio Civ. R. 16.2 similarly provides:

       Scheduling orders will be issued in conjunction with preliminary pretrial
       procedures established by the Judges of this Court, which normally will be
       implemented within ninety days after filing of an action. In any action
       assigned to a Magistrate Judge for that purpose, the Magistrate Judge is
       empowered to enter scheduling orders under Fed. R. Civ. P. 16(b), and to modify
       scheduling orders upon a showing of good cause.

(Emphasis added). Good cause exists to modify and extend the case deadlines set in the

Court’s January 5, 2022 Opinion and Order (the “Deadlines”). (ECF No. 52).

       Specifically, on December 6, 2021, Medical Supply moved for leave to file its Amended

Complaint (the “Motion for Leave”). (ECF No. 49). On December 16, 2021, because the Parties’

case strategy and expenditure of resources was dependent on the Court’s decision on the Motion

for Leave, Medical Supply moved to modify the Court’s Preliminary Pretrial Order. (ECF No.

50). On January 2, 2022, the Court granted Medical Supply’s Motion for Leave and, to permit


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additional time for additional discovery related to the new claims asserted in Medical Supply’s

Amended Complaint, also extended the case Deadlines. (ECF No. 52).

        Under the current Deadlines, primary expert reports are due March 7, 2022, rebuttal expert

reports are due April 7, 2022, and discovery cut-off is May 9, 2022. These Deadlines were

scheduled in contemplation of additional discovery related to Medical Supply’s new claims.

        Yet, despite Medical Supply’s immediate issuance of written discovery to Defendants on

January 10, 2022, to date, Medical Supply has not received responses to those requests.

Defendants’ counsel indicated that the responses are “quite voluminous,” and that Defendants will

produce responses and documents during the week of February 21, 2022. Additionally, after

Medical Supply’s issued notice of Defendant Chem & Consult, Inc.’s 30(b)(6) deposition,

Defendants’ counsel stated that he and his client are unavailable for depositions the entire month

of March. The Parties are also currently contemplating a potential mediation in mid-April.

        The information contained in Defendants’ anticipated discovery responses and the

information that will be learned during Defendants’ depositions are necessary to ensure that the

Parties’ expert reports are complete and comprehensive. Further, this information is also necessary

in order to evaluate and analyze the case further prior to the mediation.

        Unless the Deadlines are extended, the Parties will be forced to fight over schedules and

witness availability, conduct piece-meal and fitful discovery, prepare and produce multiple,

developing, supplemental expert reports, and incur substantial (and redundant) litigation costs. All

of these issues will almost certainly frustrate the purpose of conducting a mediation. However, if

the Deadlines are extended as requested, the Parties will have the opportunity to proceed in an

orderly and efficient fashion, to forgo (or at least defer) certain costs, to focus on the merits of the

case, and to explore settlement possibilities in a thoughtful and informed manner.



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       If a settlement does not occur at the mediation, the Parties will still have ample time to

prepare their respective cases for dispositive motions, trial, or both. This brief extension will not

prejudice either party and will not unduly delay case management as no trial date has yet even

been set.

       In view of the foregoing developments, the Parties now move to extend the Deadlines by

approximately six (6) weeks. The Parties jointly submit the following amended case schedule, in

lieu of the Deadlines set forth in the Court’s January 5, 2022 Opinion and Order (ECF No. 52):

       Proposed Deadlines:

       (1)     Primary expert reports                                        April 18, 2022

       (2)     Rebuttal expert reports                                       May 16, 2022

       (3)     Discovery cut-off:                                            June 17, 2022

       (4)     Case-dispositive motions:                                     July 18, 2022

       In conclusion, good cause having been shown, and the Parties being in agreement, the

Parties respectfully request that the Court grant the Parties’ Joint Motion to Modify Case Schedule.

                                              Respectfully submitted,

/s/ Marc S. Blubaugh___________                      /s/ Daniel J. Matusicky (via email consent)
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mblubaugh@beneschlaw.com                             Attorneys for Defendants Chem & Consult,
ariffee@beneschlaw.com                               Inc. and Mitch Goodman
Attorneys for Plaintiff Medical Supply
Distribution, LLC




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was electronically filed on this 23rd day of

February, 2022. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.



                                                /s/ Marc S. Blubaugh
                                                Marc S. Blubaugh (0068221) (Trial Attorney)
                                                One of the Attorneys for Plaintiff Medical Supply
                                                Distribution, LLC




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